Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 1 of 18



                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 18-cv-62629-BLOOM/Valle

  ADIDAS AG, et al.,

                    Plaintiffs,

  v.

  SPORT JERSEY SHOPS, et al.,

                    Defendants.
                                                       /

                    ORDER GRANTING MOTION FOR DEFAULT JUDGMENT

            THIS CAUSE is before the Court upon Plaintiffs’1 Motion for Entry of Final Default

  Judgment Against Defendants,2 ECF No. [32] (“Motion”). A Clerk’s Default, ECF No. [29],

  was entered against Defendants on December 26, 2018, as Defendants failed to appear, answer,

  or otherwise plead to the Complaint, ECF No. [1], despite having been served. See ECF No.

  [21]. The Court has carefully considered the Motion, the record in this case, the applicable law,

  and is otherwise fully advised. For the following reasons, Plaintiffs Motion is GRANTED.

            I.      Introduction

            Plaintiffs sued Defendants for trademark counterfeiting and infringement under § 32 of

  the Lanham Act, 15 U.S.C. § 1114; false designation of origin under § 43(a) of the Lanham

  Act, 15 U.S.C. § 1125(a); common-law unfair competition; and common-law trademark

  infringement. The Complaint alleges that Defendants are promoting, advertising, distributing,

  offering for sale and selling goods bearing counterfeits and confusingly similar imitations of

  1
      Plaintiffs are adidas AG, adidas International Marketing B.V., and adidas America, Inc.
  2
    Defendants are the individuals, partnerships, business entities, and unincorporated associations
  identified on Schedule “A” of Plaintiffs’ Motion, and Schedule “A” of this Order. See ECF No. [32] at
  17-21.
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 2 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


  Plaintiffs’ registered trademarks within the Southern District of Florida by operating Internet

  based e-commerce stores via the Internet marketplace websites, Amazon.com, Bonanza.com,

  eBay.com, iOffer.com, and Wish.com, using their seller identification names identified on

  Schedule “A” attached to Plaintiffs’ Motion for Entry of Final Default Judgment (the “Seller

  IDs”). See ECF No. [32] at 17-21.

         Plaintiffs further assert that Defendants’ unlawful activities have caused and will

  continue to cause irreparable injury to Plaintiffs because Defendants have (1) deprived Plaintiffs

  of their right to determine the manner in which their trademarks are presented to the public

  through merchandising; (2) defrauded the public into thinking Defendants’ goods are goods

  authorized by Plaintiffs; (3) deceived the public as to Plaintiffs’ association with Defendants’

  goods and the websites that market and sell the goods; and (4) wrongfully traded and capitalized

  on Plaintiffs’ reputation and goodwill, as well as the commercial value of Plaintiffs’ trademarks.

         In their Motion, Plaintiffs seek the entry of default final judgment against Defendants in

  an action alleging trademark counterfeiting and infringement, false designation of origin,

  common-law unfair competition, and common-law trademark infringement. Plaintiffs further

  request that the Court (1) enjoin Defendants from producing or selling goods that infringe their

  trademarks; (2) disable and/or cease facilitating access to the seller identification names being

  used and/or controlled by Defendants; (3) remove the listings and associated images of goods

  bearing Plaintiffs’ trademarks via the Seller IDs, and (5) award statutory damages.

         Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a

  final judgment of default against a party who has failed to plead in response to a complaint. “[A]

  defendant’s default does not in itself warrant the court entering a default judgment.”

  DirecTV, Inc. v. Huynh, 318 F. Supp. 2d 1122, 1127 (M.D. Ala. 2004) (quoting Nishimatsu




                                                  2
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 3 of 18
                                                               Case No. 18-cv-62629-BLOOM/Valle


  Constr. Co., Ltd. v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)). Granting a

  motion for default judgment is within the trial court’s discretion. See Nishimatsu, 515 F.2d at

  1206. Because the defendant is not held to admit facts that are not well pleaded or to admit

  conclusions of law, the court must first determine whether there is a sufficient basis in the

  pleading for the judgment to be entered. See id.; see also Buchanan v. Bowman, 820 F.2d 359,

  361 (11th Cir. 1987) (“[L]iability is well-pled in the complaint, and is therefore established by

  the entry of default. . .”). Upon review of Plaintiffs’ submissions, it appears there is a sufficient

  basis in the pleading for the default judgment to be entered in favor of Plaintiffs.

         II.     Factual Background3

         Plaintiffs are the owners of the following trademarks which are valid and registered on

  the Principal Register of the United States Patent and Trademark Office (the “adidas Marks”)

                        Registration      Registration
      Trademark                                                           Class / Goods
                         Number              Date
                                                       IC25. sport shoes namely, track and field
                                                       shoes, baseball, boxing, football, skating,
                                                       golf, and soccer shoes; sportswear
       ADIDAS             0,891,222       May 19, 1970 namely, suits, shorts, pants, tights, shirts,
                                                       gloves, and the like; jerseys; socks; sport
                                                       shoes namely, track and field training
                                                       shoes, basketball shoes, and tennis shoes.
                                           October 19,
                          1,050,759                        IC 028. Balls of every kind.
                                              1976
                                                           IC 025. Sportswear-Namely, Suits, Shorts,
                                                           Pants, Tights, Shirts, Jerseys, Socks,
                                           October 16,
                          1,300,627                        Gloves, Jackets, Coats, Swimwear,
                                              1984
                                                           Sweaters, Caps, Pullovers, Warm-Up
                                                           Suits, Boots, Shoes, Slippers.
                                           December 7,
      CLIMALITE           1,809,301                        IC 025. Shirts.
                                              1993


  3
    The factual background is taken from Plaintiffs’ Complaint, ECF No. [1], Plaintiffs’ Motion, ECF No.
  [32], and supporting evidentiary submissions.


                                                    3
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 4 of 18
                                                        Case No. 18-cv-62629-BLOOM/Valle


                                     September 21, IC 25. sports and leisure wear, namely,
                       2,278,591
                                         1999      shorts.
                                                    IC 018. All purpose sport bags, athletic
                                                    bags, traveling bags, backpacks,
                                                    knapsacks.
                                                  IC 025. Sports and leisure wear, namely,
                                                  shorts, pants, shirts, T-shirts, jerseys,
                                                  socks, gloves, jackets, swimwear, caps
                                     December 12,
                       2,411,802                  and hats, pullovers, sweat-shirts, sweat
                                        2000
                                                  suits, track suits, warm-up suits; boots,
                                                  sandals, specific purpose athletic shoes
                                                  and general all purpose sports shoes.
                                                   IC 028. Sports balls and playground balls;
                                                   guards for athletic use, namely, shin
                                                   guards, knee guards and leg guards.
                                                   IC 025. Clothing, namely, footwear, sport
                                                   shoes, headwear, shirts, T-shirts, jerseys,
                                                   underwear, swimwear, shorts, pants,
                                     November 19, skirts, sweaters, caps, hats, visors, warm
    CLIMACOOL          2,651,581
                                         2002      up suits, rain suits, ski suits, jumpsuits,
                                                   boots, sandals, sweat shirts, jackets,
                                                   uniforms, wrist bands and head bands,
                                                   gloves and socks.
                                                   IC 018. Bags for general and sport use,
                                                   namely, handbags, tote bags, waist packs,
                                                   overnight bags, gym bags, duffel bags,
                       3,255,820     June 26, 2007 backpacks, knapsacks, beach bags, trunks,
                                                   suitcases and travelling bags, wallets,
                                                   briefcases, key cases, purses, parasols and
                                                   umbrellas
                                     September 30,
      TELSTAR          3,508,598                   IC 028. Soccer balls.
                                         2008

                                       August 12,   IC 025.Footwear; apparel, namely, shirts,
    CLIMACHILL         4,585,788
                                         2014       tops, shorts
                                                    IC 009. Mobile phone covers; laptop
                                      January 27,
                       4,679,762                    covers and sleeves; protective covers and
                                         2015
                                                    sleeves for tablet computer.

  See Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 4-5; ECF No. [1-2] (containing

  Certificates of Registrations for the adidas Marks at issue). The adidas Marks are used in




                                              4
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 5 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


  connection with the manufacture and distribution of quality goods in the categories identified

  above. See Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 5.

         Defendants, by operating Internet based e-commerce stores via the Internet marketplace

  websites, Amazon.com, Bonanza.com, eBay.com, iOffer.com, and Wish.com, using their Seller

  IDs, have advertised, promoted, offered for sale, or sold goods bearing what Plaintiffs have

  determined to be counterfeits, infringements, reproductions, or colorable imitations of the adidas

  Marks. See Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 13, 15-17. Although each

  Defendant may not copy and infringe each of Plaintiffs’ Marks for each category of goods

  protected, Plaintiffs have submitted sufficient evidence showing each Defendant has infringed, at

  least, one or more of Plaintiffs’ Marks. See Mia Nidia Gutierrez, ECF No. [5-1] at 23-25.

  Although each Defendant may not copy and infringe each adidas Mark for each category of

  goods protected, Plaintiffs have submitted sufficient evidence showing each Defendant has

  infringed, at least, one or more of the adidas Marks. See Declaration of Mia Nidia Gutierrez,

  ECF No. [6-2] at 15-17. Defendants are not now, nor have they ever been, authorized or

  licensed to use, reproduce, or make counterfeits, reproductions, or colorable imitations of the

  adidas Marks. See Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 9.

         Plaintiffs’ counsel retained Invisible Inc, a licensed private investigative firm, to

  investigate the promotion and sale of counterfeit and infringing adidas branded products by

  Defendants. See Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 13; Declaration of

  Kathleen Burns, ECF No. [6-3] at 3; Declaration of Virgilio Gigante, ECF No. [6-6] at 2.

  Through Amazon.com, Bonanza.com, eBay.com, iOffer.com, and Wish.com, Invisible Inc

  accessed all of the Internet based e-commerce stores operating under Defendants’ Seller IDs, and

  finalized the purchase of a product bearing counterfeits of, at least, one of the adidas Marks at




                                                  5
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 6 of 18
                                                                Case No. 18-cv-62629-BLOOM/Valle


  issue, via each Seller ID, and requested each product to be shipped to Invisible Inc’s address in

  the Southern District of Florida. See Declaration of Kathleen Burns, ECF No. [6-3] at 4.

  Following submission of the orders, Invisible Inc finalized payment for each of the products

  ordered from Defendants via Amazon Payments, Inc.4 or PayPal to Defendants’ respective

  PayPal accounts and/or via Defendants’ respective payee,5 as identified on Schedule “A” hereto.6

  At the conclusion of the process, the detailed web page captures and photographs reflecting the

  adidas branded products offered for sale and purchased by Invisible Inc via Defendants’ Seller

  IDs were sent to Plaintiffs’ representative for review. See Declaration of Kathleen Burns, ECF

  No. [6-3] at 4; Declaration of Mia Nidia Gutierrez, ECF No. [6-2] at 15; Declaration of Virgilio

  Gigante, ECF No. [6-6] at 2.

         Plaintiffs’ representative conducted a review and visually inspected the detailed web

  pages and images produced by Invisible Inc, reflecting the various products offered for sale and

  sold bearing the adidas Marks by Defendants via the Seller IDs, and determined the products

  were non-genuine, unauthorized versions of Plaintiffs’ goods. See Declaration of Mia Nidia

  Gutierrez, ECF No. [6-2] at 15-17.




  4
     Amazon.com is an e-commerce marketplace that allows Defendants to conduct their commercial
  transactions privately via Amazon.com’s payment processing and retention service, Amazon Payments,
  Inc. As such, payment information for the Defendants operating via Amazon.com is not publicly
  disclosed. See Declaration of Kathleen Burns, ECF No. [6-3] at 4, n.2; Declaration of Virgilio Gigante,
  ECF No. [6-6] at 4.
  5
   “PayPal * Wish” was identified as the payee for each of Invisible Inc’s orders from certain Defendants’
  Seller IDs. “WISH (ContextLogic Inc.)” is the named PayPal recipient for individual transactions
  conducted with sellers through Wish.com. See Declaration of Kathleen Burns, ECF No. [6-3] at 4, n.3.
  6
   Additional contact e-mail addresses provided by Defendants 41 and 83 are also identified on Schedule
  “A” hereto. See Declaration of Kathleen Burns, ECF No. [6-3] at 4, n.4.


                                                     6
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 7 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


         III. Analysis

                 A. Claims

                         1. Trademark Counterfeiting and Infringement Under 15 U.S.C.
                            § 1114 (Count I)

         Section 32 of the Lanham Act, 15 U.S.C. § 1114, provides liability for trademark

  infringement if, without the consent of the registrant, a defendant uses “in commerce any

  reproduction, counterfeit, copy, or colorable imitation of a registered mark: which is likely to

  cause confusion, or to cause mistake, or to deceive.” 15 U.S.C. § 1114. In order to prevail on its

  trademark infringement claim under Section 32 of the Lanham Act, Plaintiffs must demonstrate

  that (1) they had prior rights to the mark at issue; and (2) Defendants adopted a mark or name

  that was the same, or confusingly similar to Plaintiffs’ trademark, such that consumers were

  likely to confuse the two. Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193

  (11th Cir. 2001) (citing Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks, Inc., 106

  F.3d 355, 360 (11th Cir. 1997)).

                         2. False Designation of Origin Under 15 U.S.C. § 1125(a) (Count II)

         To prevail on a claim for false designation of origin under Section 43(a) of the Lanham

  Act, 15 U.S.C. § 1125(a), Plaintiffs must prove that Defendants used in commerce, in connection

  with any goods or services, any word, term, name, symbol or device, or any combination thereof,

  or any false designation of origin that is likely to deceive as to the affiliation, connection, or

  association of Defendants with Plaintiffs, or as to the origin, sponsorship, or approval, of

  Defendants’ goods by Plaintiffs. See 15 U.S.C. § 1125(a)(1). The test for liability for false

  designation of origin under 15 U.S.C. § 1125(a) is the same as for a trademark counterfeiting and

  infringement claim – i.e., whether the public is likely to be deceived or confused by the




                                                  7
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 8 of 18
                                                                Case No. 18-cv-62629-BLOOM/Valle


  similarity of the marks at issue. See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 780

  (1992).

                           3. Common-Law Unfair Competition and Trademark Infringement
                              (Counts III and IV)

            Whether a defendant’s use of a plaintiffs’ trademarks created a likelihood of confusion

  between the plaintiffs’ and the defendant’s products is also the determining factor in the analysis

  of unfair competition under Florida common law. Rolex Watch U.S.A., Inc. v. Forrester, No.

  83-8381-Civ-Paine, 986 WL 15668, at *3 (S.D. Fla. Dec. 9, 1987) (“The appropriate test for

  determining whether there is a likelihood of confusion, and thus trademark infringement,

  false designation of origin, and unfair competition under the common law of Florida, is set

  forth in John H. Harland, Inc. v. Clarke Checks, Inc., 711 F.2d 966, 972 (11th Cir. 1983)”.);

  see also Boston Prof’l Hockey Ass’n, Inc. v. Dallas Cap & Emblem Mfg., Inc., 510 F.2d 1004,

  1010 (5th Cir. 1975) (“As a general rule . . . the same facts which would support an action for

  trademark infringement would also support an action for unfair competition.”).

            The analysis of liability for Florida common law trademark infringement is the same as

  the analysis of liability for trademark infringement under § 32(a) of the Lanham Act. See

  PetMed Express, Inc. v. MedPets.com, Inc., 336 F. Supp. 2d 1213, 1217-18 (S.D. Fla. 2004).

                   B. Liability

            The well-pled factual allegations of Plaintiffs’ Complaint properly allege the elements for

  each of the claims described above. See ECF No. [1]. Moreover, the factual allegations in

  Plaintiffs’ Complaint have been substantiated by sworn declarations and other evidence and

  establish Defendants’ liability under each of the claims asserted in the Complaint. Accordingly,

  default judgment pursuant to Federal Rule of Civil Procedure 55 is appropriate.




                                                     8
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 9 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


                 C. Injunctive Relief

         Pursuant to the Lanham Act, a district court is authorized to issue an injunction

  “according to the principles of equity and upon such terms as the court may deem reasonable,” to

  prevent violations of trademark law. See 15 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the

  remedy of choice for trademark and unfair competition cases, since there is no adequate remedy

  at law for the injury caused by a defendant’s continuing infringement.” Burger King Corp. v.

  Agad, 911 F. Supp. 1499, 1509-10 (S.D. Fla. 1995) (citing Century 21 Real Estate Corp. v.

  Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1988)). Moreover, even in a default judgment setting,

  injunctive relief is available. See e.g., PetMed Express, Inc., 336 F. Supp. 2d at 1222-23.

  Defendants’ failure to respond or otherwise appear in this action makes it difficult for Plaintiffs

  to prevent further infringement absent an injunction. See Jackson v. Sturkie, 255 F. Supp. 2d

  1096, 1103 (N.D. Cal. 2003) (“[D]efendant’s lack of participation in this litigation has given

  the court no assurance that defendant’s infringing activity will cease. Therefore, plaintiffs are

  entitled to permanent injunctive relief.”)

         Permanent injunctive relief is appropriate where a plaintiff demonstrates that (1) it has

  suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardship

  favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay,

  Inc. v. MercExchange, LLC, 547 U.S. 388, 392-93 (2006).             Plaintiffs have carried their

  burden on each of the four factors. Accordingly, permanent injunctive relief is appropriate.

         Specifically, in trademark cases, “a sufficiently strong showing of likelihood of

  confusion . . . may by itself constitute a showing of a substantial threat of irreparable harm.”

  McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998); see also Levi Strauss &

  Co. v. Sunrise Int’l Trading Inc., 51 F.3d 982, 986 (11th Cir. 1995) (“There is no doubt that the




                                                  9
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 10 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


  continued sale of thousands of pairs of counterfeit jeans would damage LS & Co.’s business

  reputation and might decrease its legitimate sales.”).       Plaintiffs’ Complaint alleges that

  Defendants’ unlawful actions have caused Plaintiffs irreparable injury and will continue to do so

  if Defendants are not permanently enjoined. See ECF No. [1]. Further, the Complaint alleges,

  and the submissions by Plaintiffs show, that the goods promoted, advertised, offered for sale, and

  sold by Defendants are nearly identical to Plaintiffs’ genuine products and that consumers

  viewing Defendants’ counterfeit goods post-sale would actually confuse them for Plaintiffs’

  genuine products. See id. “The net effect of Defendants’ actions will cause confusion of

  consumers . . . who will believe Defendants’ Counterfeit Goods are genuine goods originating

  from, associated with, and approved by Plaintiffs.” See ECF No. [1] at 27.

          Plaintiffs have no adequate remedy at law so long as Defendants continue to operate

  the Seller IDs because Plaintiffs cannot control the quality of what appears to be their

  products in the marketplace. An award of monetary damages alone will not cure the injury to

  Plaintiffs’ reputations and goodwill that will result if Defendants’ infringing and

  counterfeiting actions are allowed to continue. Moreover, Plaintiffs face hardship from loss of

  sales and their inability to control their reputations in the marketplace. By contrast, Defendants

  face no hardship if they are prohibited from the infringement of Plaintiffs’ trademarks, which is

  an illegal act.

          Finally, the public interest supports the issuance of a permanent injunction against

  Defendants to prevent consumers from being misled by Defendants’ products. See Nike, Inc. v.

  Leslie, 1985 WL 5251, at *1 (M.D. Fla. June 24, 1985) (“[A]n injunction to enjoin infringing

  behavior serves the public interest in protecting consumers from such behavior.”). The Court’s

  broad equity powers allow it to fashion injunctive relief necessary to stop Defendants’ infringing




                                                 10
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 11 of 18
                                                              Case No. 18-cv-62629-BLOOM/Valle


  activities. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971)

  (“Once a right and a violation have been shown, the scope of a district court’s equitable powers

  to remedy past wrongs is broad, for . . . [t]he essence of equity jurisdiction has been the power of

  the Chancellor to do equity and to mould each decree to the necessities of the particular case.”

  (citation and internal quotation marks omitted)); United States v. Bausch & Lomb Optical Co.,

  321 U.S. 707, 724 (1944) (“Equity has power to eradicate the evils of a condemned scheme by

  prohibition of the use of admittedly valid parts of an invalid whole.”).

         Defendants have created an Internet-based counterfeiting scheme in which they are

  profiting from their deliberate misappropriation of Plaintiffs’ rights. Accordingly, the Court may

  fashion injunctive relief to eliminate the means by which Defendants are conducting their

  unlawful activities by requiring their Seller IDs be disabled and their listings and associated

  images be removed to further prevent the use of these instrumentalities of infringement.

                 D. Statutory Damages for the Use of Counterfeit Marks

         In a case involving the use of counterfeit marks in connection with a sale, offering for

  sale, or distribution of goods, 15 U.S.C. § 1117(c) provides that a plaintiff may elect an award of

  statutory damages at any time before final judgment is rendered in the sum of not less than

  $1,000.00 nor more than $200,000.00 per counterfeit mark per type of good. 15 U.S.C. §

  1117(c)(1). In addition, if the Court finds that Defendants’ counterfeiting actions were willful, it

  may impose damages above the maximum limit up to $2,000,000.00 per mark per type of good.

  15 U.S.C. § 1117(c)(2). Pursuant to 15 U.S.C. § 1117(c), Plaintiffs have elected to recover an

  award of statutory damages as to Count I of the Complaint.

         The Court has wide discretion to determine the amount of statutory damages. PetMed

  Express, Inc., 336 F. Supp. 2d at 1219 (citing Cable/Home Commc’n Corp. v. Network Prod.,

  Inc., 902 F.2d 829, 852 (11th Cir. 1990)). An award of statutory damages is appropriate despite


                                                   11
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 12 of 18
                                                             Case No. 18-cv-62629-BLOOM/Valle


  a plaintiff’s inability to prove actual damages caused by a defendant’s infringement. Under

  Armour, Inc. v. 51nfljersey.com, 2014 WL 1652044, at *7 (S.D. Fla. April 23, 2014) (citing Ford

  Motor Co. v. Cross, 441 F. Supp. 2d 837, 852 (E.D. Mich. 2006) (“[A] successful plaintiff in a

  trademark infringement case is entitled to recover enhanced statutory damages even where its

  actual damages are nominal or non-existent.”)); Playboy Enter., Inc. v. Universal Tel-A-Talk,

  Inc., 1998 WL 767440, at *8 (E.D. Pa. Nov. 3, 1998) (awarding statutory damages where

  plaintiff failed to prove actual damages or profits).     Indeed, Congress enacted a statutory

  damages remedy in trademark counterfeiting cases because evidence of a defendant’s profits in

  such cases is almost impossible to ascertain. See, e.g., S. REP. NO. 104-177, pt. V(7) (1995)

  (discussing purposes of Lanham Act statutory damages); see also PetMed Express, Inc., 336 F.

  Supp. 2d at 1220 (statutory damages are “especially appropriate in default judgment cases due to

  infringer nondisclosure”). This case is no exception.

         This Court may award statutory damages “without holding an evidentiary hearing based

  upon affidavits and other documentary evidence if the facts are not disputed.” Perry Ellis Int’l,

  Inc. v. URI Corp., 2007 WL 3047143, at *1 (S.D. Fla. Oct. 18, 2007). Although the Court is

  permitted to conduct a hearing on a default judgment in regards to damages pursuant to Federal

  Rule of Civil Procedure 55(b)(2)(B), an evidentiary hearing is not necessary where there is

  sufficient evidence on the record to support the request for damages. See SEC v. Smyth, 420

  F.3d 1225, 1232 n.13 (11th Cir. 2005) (“Rule 55(b)(2) speaks of evidentiary hearings in a

  permissive tone . . . . We have held that no such hearing is required where all essential evidence

  is already of record.”) (citations omitted); see also PetMed Express, 336 F. Supp. 2d at 1223

  (entering default judgment, permanent injunction and statutory damages in a Lanham Act case

  without a hearing).




                                                 12
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 13 of 18
                                                              Case No. 18-cv-62629-BLOOM/Valle


         Here, the allegations in the Complaint, which are taken as true, clearly establish

  Defendants intentionally copied one or more of Plaintiffs’ Marks for the purpose of deriving the

  benefit of Plaintiffs’ world-famous reputation. As such, the Lanham Act permits the Court to

  award up to $2,000,000.00 per infringing mark on each type of good as statutory damages to

  ensure that Defendants do not continue their intentional and willful counterfeiting activities.

         The evidence in this case demonstrates that each Defendant promoted, distributed,

  advertised, offered for sale, and/or sold goods bearing marks which were in fact counterfeits of at

  least one of Plaintiffs’ Marks. See ECF No. [1]. Based on the above considerations, Plaintiffs

  suggest the Court award statutory damages of $1,000,000.00 against each Defendant. The award

  should be sufficient to deter Defendants and others from continuing to counterfeit or otherwise

  infringe Plaintiffs’ trademarks, compensate Plaintiffs, and punish Defendants, all stated goals of

  15 U.S.C. § 1117(c). The Court finds that this award of statutory damages falls within the

  permissible statutory range under 15 U.S.C. § 1117(c) and is just.

                 E. Damages for False Designation of Origin

         Plaintiffs’ Complaint also sets forth a cause of action for false designation of origin

  pursuant to § 43(a) of the Lanham Act (Count II). See 15 U.S.C. § 1125(a). As to Count II, the

  allowed scope of monetary damages is also encompassed in 15 U.S.C. § 1117(c). Accordingly,

  judgment on Count II is limited to the amount awarded pursuant to Count I and entry of the

  requested equitable relief.

                 F. Damages for Common Law Unfair Competition and Trademark
                    Infringement

         Plaintiffs’ Complaint further sets forth a cause of action under Florida’s common law of

  unfair competition (Count III) and trademark infringement (Count IV). Judgment on Count III




                                                   13
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 14 of 18
                                                              Case No. 18-cv-62629-BLOOM/Valle


  and Count IV are also limited to the amount awarded pursuant to Count I and entry of the

  requested equitable relief.

          IV. CONCLUSION

          Based on the foregoing, it is ORDERED AND ADJUDGED that Plaintiffs’ Motion,

  ECF No. [32], is GRANTED against those Defendants listed in the attached Schedule “A.”

  Final Default Judgment will be entered by separate order.

          DONE AND ORDERED in Chambers at Miami, Florida, this 10th day of January,

  2019.



                                                      __________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




                                                 14
Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 15 of 18
                                                              Case No. 18-cv-62629-BLOOM/Valle


                              SCHEDULE “A”
                DEFENDANTS BY NUMBER, SELLER ID, STORE URL,
              PAYMENT ACCOUNT AND ADDITIONAL E-MAIL ADDRESS

Defendant                             Seller ID /        Additional
          Defendant / Seller ID                                           PayPal Account / Payee
 Number                               Store URL           E-mail
                                    ARWMZDGF8J
    1    SPORT JERSEY SHOPS
                                    QF1
                                    A1PEPR4TRX2Z
    2    GFJ5HL51-H
                                    3J
                                    A1H89P6QQHG
    3    heluqu
                                    N9F
                                    AYL80TS1CXM
    4    henry kevin
                                    5Z
                                    A2V480RXBDF
    5    hucunse
                                    EXX
                                    A1LK8KAMV9
    6    smartdraftusa
                                    W7CF
                                    A3OTPI5J3O3AI
    7    ZAP_BHAVYA
                                    Y
         kirkw9375 a/k/a Discount
    9                                                                 courtwim81@gmail.com
         Jerseys
   10    Mrspring                                                     Jonathanooper@gmail.com
   11    newshop99                                                    huongktqd8@gmail.com
   12    peteradam                                                    peteradam239@gmail.com
   13    ShopT2 a/k/a Tina                                            Tinashop1213@gmail.com
   14    yaligo                                                       xiaoxiujin001@hotmail.com
   15    yd001                                                        linyuandong001@hotmail.com
   16    90changyi                                                    jtxiaowangzi@163.com
   17    ailiam_0                                                     caiyuanhengtong@outlook.com
   18    alex84000                                                    monsieur.bakhouche@gmail.com
   19    beautifulhouse2017                                           18924237935@163.com
   21    bestshop0202                                                 trinhkimtuan1@gmail.com
   22    chengchuangdianqi                                            glamour99@yeah.net
   24    emillysky25                                                  faty3fati@gmail.com
   25    evnyy2018                                                    yanxia99526@163.com
   26    feng6896-0                                                   fengah66@126.com
   27    gffg2018                                                     lihaohao1952@126.com
   28    gz2625112666                                                 aaqqmg22@163.com
   29    ha_7212276                                                   vfdbv56@163.com
   30    huanbina0                                                    530527713@qq.com
   32    jadeasp                                                      jadeaspp@gmail.com
   33    land_of_smile                                                krufah_garden@hotmail.com
   35    leopard_chong                                                wish_manager@yeah.net
   35    leopard_wu                                                   wish_manager@yeah.net
   36    liyali1987                                                   liyali19870528@126.com


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Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 16 of 18
                                                        Case No. 18-cv-62629-BLOOM/Valle


   37   mdeals109                                              med.eche2008@gmail.com
   38   mdfh4756                                               mfh4756@gmail.com
   39   mehdamarni-0                                           amarnismehdi@gmail.com
   40   omama-88                                               khaldounyassin44@gmail.com
                                                328956747@qq.c
   41   pakkitop                                               pakkitop123@gmail.com
                                                om
   43   peshpashi                                              bouasba.mohcine@gmail.com
   44   quick_ship_store                                       omarannour@gmail.com
   45   reallykim018_4                                         reallykim018@hotmail.com
   46   shoponline2603                                         tien1963nguyen@gmail.com
   47   shopsafely2018                                         muchcollection@gmail.com
   48   smartshop-18                                           abdesalimi25@gmail.com
   49   stylish-store1                                         ismailessoudaigui@gmail.com
   50   thanhnt-store                                          thanhnt.hana@gmail.com
   51   thebigstore17                                          m.pro1709@gmail.com
   52   themkstore8                                            themksdev@gmail.com
   53   vanvauiv                                               xlivf206@126.com
   55   yhon_95                                                maryhong502264@hotmail.com
   56   youelha15                                              younessyeh2@gmail.com
   57   youyijiaqq                                             dtmlvq011@126.com
   58   521lulu                                                1802198820@qq.com
                             https://www.wish
        AAA Top Thailand     .com/merchant/58
   59                                                          PayPal * Wish
        Quality Jerseys      eb49708dcab8104
                             9d1138a
                             https://www.wish
                             .com/merchant/5a
   60   amuybeen                                               PayPal * Wish
                             17698b9d0a7b16
                             d4310c6a
                             https://www.wish
                             .com/merchant/58
   61   Angel Lover 2099                                       PayPal * Wish
                             ca533784789e507
                             ae56125
                             https://www.wish
                             .com/merchant/54
   62   chenshimei fashion                                     PayPal * Wish
                             1fb9529719cd3d4
                             28a4d11
                             https://www.wish
                             .com/merchant/58
   63   Clouds shipping                                        PayPal * Wish
                             7f22c97f83404d5
                             6fe517a
                             https://www.wish
                             .com/merchant/5a
   64   clovoices                                              PayPal * Wish
                             b663f09bda4e363
                             58cd4a2




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Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 17 of 18
                                                Case No. 18-cv-62629-BLOOM/Valle

                             https://www.wish
                             .com/merchant/58
   65   ehappy company                                PayPal * Wish
                             171a4af1415c199
                             4833675
                             https://www.wish
                             .com/merchant/58
   66   Gorgeous Goods                                PayPal * Wish
                             d37c592b0fbc568
                             89d24a3
                             https://www.wish
                             .com/merchant/55
   67   huangfei                                      PayPal * Wish
                             9b8cffbe789b74f
                             53eb798
                             https://www.wish
                             .com/merchant/55
   68   huliming                                      PayPal * Wish
                             ab98750be09e525
                             32ce662
                             https://www.wish
                             .com/merchant/59
   69   I Love My Fashion                             PayPal * Wish
                             22db2471a2f2077
                             5f9ed72
                             https://www.wish
                             .com/merchant/59
   70   I Love World Cup                              PayPal * Wish
                             22b596980a3446
                             3ad59db8
                             https://www.wish
                             .com/merchant/5a
   71   Lucky666666                                   PayPal * Wish
                             a20cdd2fbbdc277
                             5750add
                             https://www.wish
                             .com/merchant/56
   72   luoxuejia                                     PayPal * Wish
                             4c3d4b3c9cfb12a
                             fbfe5d4
                             https://www.wish
                             .com/merchant/58
   73   menghuanxiyou                                 PayPal * Wish
                             beb68fa6389c52a
                             b9d4b62
                             https://www.wish
                             .com/merchant/59
   74   MY fashion line                               PayPal * Wish
                             108c2771a2f20b9
                             bb11b6f
                             https://www.wish
                             .com/merchant/5a
   75   MySoccerJersey                                PayPal * Wish
                             545e3efd9db8149
                             6be895e
                             https://www.wish
                             .com/merchant/59
   76   Our fashion family                            PayPal * Wish
                             1d4f0e2a87415eff
                             bd29c3




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Case 0:18-cv-62629-BB Document 34 Entered on FLSD Docket 01/11/2019 Page 18 of 18
                                                       Case No. 18-cv-62629-BLOOM/Valle

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                               .com/merchant/59
   77   qiuyitianxia                                          PayPal * Wish
                               e2f3fd0f193f3cb5
                               dd388c
                               https://www.wish
                               .com/merchant/59
   78   Rugby                                                 PayPal * Wish
                               784fd3d9d6a419d
                               e8fcc87
                               https://www.wish
                               .com/merchant/56
   79   SH168                                                 PayPal * Wish
                               81d7fc73c0e0298
                               db8aaf8
                               https://www.wish
        Shenzhen Goshawk       .com/merchant/58
   80                                                         PayPal * Wish
        Technology Co.,Ltd     cb6d3b2e26c4506
                               2c8acb9
                               https://www.wish
                               .com/merchant/59
   81   Sportswear club                                       PayPal * Wish
                               660af4a26f6e1c0f
                               94b357
                               https://www.wish
                               .com/merchant/58
   82   superhao                                              PayPal * Wish
                               c7ccaa584e5c505
                               febf1ec
                               https://www.wish
        Top Thailand Quality   .com/merchant/58 mingming0909@
   83                                                         PayPal * Wish
        Jerseys                e7bba12d91303f3 yeah.com
                               44ed57b
                               https://www.wish
                               .com/merchant/5b
   84   uhhia55521                                            PayPal * Wish
                               6011757f86da141
                               f3d9195
                               https://www.wish
                               .com/merchant/5a
   85   wanfen168                                             PayPal * Wish
                               9cde202fbbdc5b6
                               5024316
                               https://www.wish
                               .com/merchant/56
   86   yinpeihua123                                          PayPal * Wish
                               f94a1e0893bb588
                               51cf821
                               https://www.wish
                               .com/merchant/59
   87   ywgsyouth138                                          PayPal * Wish
                               4a0af2b9ef52721f
                               bf3e1f




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